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                             UNITED STATES DISTRICT COURT
                             SOTHERN DISTRICT OF FLORIDA

                                    CASE NO. 18-CV-20048

 SEBASTIAN GONZALEZ,

         Plaintiff,

 vs.

 TCR SPORTS BROADCASTING
 HOLDING LLP, d/b/a/ Mid-Atlantic Sports
 Network; HYUNDAI MOTOR AMERICA,
 INC.; MERCEDES-BENZ USA, LLC; and
 JIFFY LUBE INTERNATIONAL, INC

         Defendants.
                                            /

                                   NOTICE OF REMOVAL

         Defendant, TCR Sports Broadcasting Holding, LLP, d/b/a Mid-Atlantic Sports Network

 (“MASN”), by the undersigned, its attorneys, hereby removes to this Court the State-court action

 described below:

         1.      Plaintiff sues under the federal Telephone Consumer Protection Act, 47 U.S.C.

 §227 (“TCPA”). Removal is based on federal question jurisdiction, as clearly shown by the

 allegations on the face of the Complaint, and set forth more fully below. 28 U.S.C. §§1331,

 1441.

         2.      Removal is proper. Duran v. Wells Fargo Bank, N.A., 878 F. Supp. 2d 1312,

 1315–16 (S.D. Fla. 2012) (“This action was removed to this Court based on federal question

 jurisdiction, 28 U.S.C. § 1331, because the Complaint alleges a violation of the TCPA…. It is

 established that federal courts have subject matter jurisdiction over TCPA claims.”) (citation

 omitted).



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                          THIS NOTICE OF REMOVAL IS TIMELY

        3.      On or about December 11, 2017, Plaintiff, Sebastian Gonzalez (“Plaintiff”),

 initiated Gonzalez v. TCR Sports Broadcasting Holding, LLP, et al., No. 2017-028386-CA-44, in

 the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Date County, Florida.

        4.      MASN was served with process on December 20, 2017.

        5.      This Notice of Removal is timely filed within thirty days after service of the

 Summons and Complaint on MASN. 28 U.S.C. §1446(b)(1).

                    ALL DEFENDANTS CONSENT TO THIS REMOVAL

        6.      Pursuant to 28 U.S.C. §1446(b)(2)(A), counsel for all other defendants

 (Mercedes-Benz USA, LLC (“MBUSA”), Jiffy Lube International, Inc. (“Jiffy Lube

 International”), and Hyundai Motor America, Inc. (“Hyundai”)), consent to this removal.

        7.      Michael D. Berman, Esq., certifies that each of said other defendants has, through

 counsel, authorized the undersigned to make this representation to the Court in this Notice of

 Removal.

                           FEDERAL QUESTION JURISDICTION

        8.      Plaintiff’s Complaint is, on its face, brought pursuant to a federal statute, federal

 regulations, alleged federal common law, and alleged federal administrative rulings.

        9.      Federal-question jurisdiction is governed by the “well-pleaded complaint rule,”

 and federal jurisdiction exists when a federal question is presented on the face of the plaintiff's

 complaint. Caterpillar Inc. v. Williams, 482 U.S. 386, 392 (1987).

        10.     “[T]he Court must look at the plaintiff's complaint at the time of removal.”

 Gables Ins. Recovery v. United Healthcare Ins. Co., 39 F. Supp. 3d 1377, 1383 (S.D. Fla. 2013);




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 accord Herman v. Hartford Life & Acc. Ins. Co., No. 10-61661-CIV, 2011 WL 1458050, *2

 (S.D. Fla. Apr. 15, 2011).

           11.    In ¶¶1, 12, 14, 21-23, 42, 46-47, 72, 74, 76, 78-80, 82-85, passim, of his

 Complaint, Plaintiff attempts to state a claim under the TCPA. 1

           12.    For example, and without limitation, Plaintiff’s Complaint contains two alleged

 Counts, both of which are based solely on the alleged violation of federal law.

           13.    The first Count is captioned in part “VIOLATION OF THE TCPA (47 U.S.C.

 §227)….” Compl., page 20.

           14.    The second Count is captioned in part “KNOWING AND/OR WILLFUL

 VIOLATION OF THE TCPA (47 U.S.C. §227)….” Compl., page 21.

           15.    Further, in ¶¶B and C of Plaintiff’s request for relief, Plaintiff again alleges

 violation of the TCPA.

           16.    Additionally, Plaintiff’s Complaint expressly relies on 47 U.S.C. §153(39), and

 Plaintiff alleges jurisdiction under, inter alia, 47 U.S.C. §227(b)(3). Compl., ¶¶2-6, and 9.

           17.    Plaintiff alleges violation of a federal TCPA regulation, 47 C.F.R. §64.1200, in

 ¶¶19, and 43-44 of his Complaint.

           18.    Plaintiff also alleges violation of “federal common law” in ¶20 of his Complaint.

           19.    Plaintiff relies on his interpretation of a 2013 Federal Communications

 Commission TCPA ruling in ¶¶21, 59(e), and 73(c), of his Complaint.

           20.    A suit arises under the law that creates the cause of action. Mims v. Arrow

 Financial Services, LLC, 565 U.S. 368, 377 (2012).

           21.    The TCPA, a federal statute, creates Plaintiff’s alleged claim.


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     MASN denies any and all liability. All rights are reserved.

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           22.   Plaintiff’s TCPA claim arises under the laws of the United States within the

 meaning of 28 U.S.C. §1331.

           23.   This Court has original jurisdiction pursuant to 28 U.S.C. §1331; Mims, 565 U.S.

 at 372.

           24.   TCPA cases are removable. Mims, 565 U.S. at 386; Duran v. Wells Fargo Bank,

 N.A., 878 F. Supp. 2d 1312, 1315–16 (S.D. Fla. 2012) (citing Mims).

           25.   Removal is proper, and this Court has jurisdiction pursuant to 28 U.S.C. §1441(a).

           26.   Sec. 1441(a) provides that an action may be removed “to the district court of the

 United States for the district and division embracing the place where such action is pending.”

           27.   This Court is in the District embracing the 11th Judicial Circuit in and for Miami-

 Dade County. That fact is judicially noticeable. Fed. R. Evid. 201. 2

           28.   This case, cause, and action has been properly removed.

                        COPIES OF ALL PROCESS AND PLEADINGS

           29.   Pursuant to 28 U.S.C. § 1446(a), a notice of removal shall contain “a short and

 plain statement of the grounds for removal, together with a copy of all process, pleadings, and

 orders served upon such defendant or defendants in such action.”

           30.   Exhibit A is a copy of the Complaint.

           31.   Exhibit B is a copy of Plaintiff’s First Request for Production of Documents to

 Defendant MASN.




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  “The court may take judicial notice at any stage of the proceeding.” Fed. R. Evid. 201(d). “The
 court may judicially notice a fact that is not subject to reasonable dispute because it: (1) is
 generally known within the trial court's territorial jurisdiction; or (2) can be accurately and
 readily determined from sources whose accuracy cannot reasonably be questioned.” Fed. R.
 Evid. 201(b).

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           32.    Exhibit C is a copy of Plaintiff’s First Request for Production of Documents to

 Defendant Jiffy Lube.

           33.    Exhibit D is a copy of Plaintiff’s Notice of Taking Subpoena Duces Tecum

 Without Deposition of Non-Party JPR General Contract Corp.

           34.    Exhibit E is a copy of the Objections of TCR Sports Broadcasting holding, LLP,

 to Notice of Taking Subpoena Duces Tecum Without Deposition of Non-Party JPR General

 Contract Corp.

           35.    Exhibit F is a copy of a Notice of Appearance of Counsel and Designation of

 Email Addresses.

           36.    Exhibit G is a copy of a Verified Motion for Admission to Appear Pro Hac Vice

 Pursuant to Florida Rule of Judicial Administration 2.510.

           37.    Exhibits H through K are Certificates of Service of Process on MASN, MBUSA,

 Hyundai, and Jiffy Lube International.

           38.    As of this date, Exhibits A through K are copies of all of the process and

 pleadings served upon MASN in this action. To MASN’s knowledge, no orders have been

 issued.

                              NOTICE FILING IN STATE COURT

           39.    Pursuant to 28 U.S.C. §1446(d), MASN will serve written notice of this removal

 on Plaintiff and will concurrently file a copy of this Notice of Removal with the Clerk of Court

 of the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, in

 case Gonzalez v. TCR Sports Broadcasting Holding, LLP, et al., No. 2017-028386-CA-01 in the

 form attached hereto as Exhibit L.




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        40.     MASN has satisfied all of the requirements for removal of this action under 28

 U.S.C. §1446 and all other applicable statutes and rules.

        WHEREFORE, for all the foregoing reasons, this Court has, and Defendant respectfully

 requests this Court to assume, full jurisdiction over the case, action, and all causes and defenses

 herein, as provided by law.

                                                      Respectfully submitted,

                                                      RIFKIN WEINER LIVINGSTON, LLC
                                                      Counsel for TCR Sports Broadcasting
                                                         Holding LLP
                                                      2002 Clipper Park Road, Suite 108
                                                      Baltimore, Maryland 21211,
                                                      Telephone: 410-206-5049
                                                      mberman@rwllaw.com.

                                                      By: /s/ Michael D. Berman
                                                             Michael D. Berman
                                                             Maryland CPF 8011010032
                                                             D. Md. Bar No. 03010

                                                      Pro Hac Vice Motion Pending

                                                      GUNSTER
                                                      Counsel for TCR Sports Broadcasting
                                                          Holding LLP
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                                                             Jonathan H Kaskel, FBN: 52718




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                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY, that on January 5, 2018, I electronically filed the foregoing

 via CM/ECF, which will electronically send notice to all persons registered on that system. I

 also certify that a copy was transmitted to the following by first-class mail, postage prepaid, and

 by email:

 Frank Hedin, Esquire
 David P. Milian, Esquire
 Ruben Conitzer, Esquire
 CAREY RODRIGUEZ MILLIAN GONYA LLP
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 Counsel for Plaintiff




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